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10

11                             IN THE UNITED STATES DISTRICT COURT

12                                    FOR THE DISTRICT OF NEVADA
13
     BREON CAMP,                                            Case No. 2:21-cv-01188-GMN-EJY
14
                              Plaintiff,                    UNOPPOSED MOTION AND ORDER
15                                                          EXTENDING DEFENDANT TRANS
     v.                                                     UNION LLC’S TIME TO FILE AN
16                                                          ANSWER OR OTHERWISE RESPOND
     LEXISNEXIS CONSUMER CENTER,                            TO PLAINTIFF’S COMPLAINT
17   TRANSUNION and EQUIFAX
     INFORMATION SERVICES, LLC,                             (FIRST REQUEST)
18

19                             Defendants.

20

21               Plaintiff Pro Se, Breon Camp (“Plaintiff”), and Defendant, Trans Union LLC (“Trans

22   Union”), hereby file this Unopposed Motion Extending Defendant Trans Union’s Time to File an

23   Answer or Otherwise Respond to Plaintiff’s Complaint.

24               1.    On September 15, 2021, Plaintiff filed his Complaint. Trans Union was served with

25   Plaintiff’s Complaint on October 27, 2021. The current deadline for Trans Union to answer or

26   otherwise respond to Plaintiff’s Complaint is November 17, 2021.

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 1               2.   On October 29, 2021, counsel for Trans Union communicated with Plaintiff via

 2   telephone regarding an extension within which to file a response to the Complaint, and Plaintiff

 3   agreed to the extension.

 4               3.   The parties are actively discussing a potential early resolution of this case, and the

 5   parties believe an extension of this nature may save waste of the parties’ time and expense. The

 6   additional time will allow Plaintiff and Trans Union time to fully explore such early settlement

 7   discussions.

 8               4.   Moreover, Trans Union’s counsel will need additional time to review the

 9   documents and meaningfully respond to the specific allegations in Plaintiff’s Complaint. This

10   Joint Motion is made in good faith and not for the purposes of delay.

11               5.   Plaintiff has agreed to extend the deadline in which Trans Union has to answer or

12   otherwise respond to Plaintiff’s Complaint up to and including December 17, 2021. This is the

13   first motion for extension of time for Trans Union to respond to Plaintiff’s Complaint.

14
     Dated this 11th day of November 2021.
15
                                                    QUILLING SELANDER LOWNDS
16
                                                    WINSLETT & MOSER, P.C.
17
                                                    /s/ Jennifer Bergh
18                                                  Jennifer Bergh
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22                                                  COUNSEL FOR TRANS UNION LLC
23                                                  ORDER
24
                                                    The Joint Motion for Extension of Time for
25                                                  Trans Union LLC to file an answer or
                                                    otherwise respond to Plaintiff's Complaint is
26                                                  so ORDERED AND ADJUDGED.
27
                                                    Dated this 12th day of November, 2021.
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                                                    __________________________________                    2
     4414351.1
                                                    U.S. MAGISTRATE JUDGE
